USDC IN/ND case 1:11-cr-00061-TLS-RBC              document 28        filed 11/02/11    page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
                v.                            )              CAUSE NO. 1:11-CR-61
                                              )
 CLARENCE E. HALL                             )

                             FINDINGS AND RECOMMENDATION
                                OF THE MAGISTRATE JUDGE
                                 UPON A PLEA OF GUILTY

 TO:    THE HONORABLE THERESA L. SPRINGMANN, JUDGE,
        UNITED STATES DISTRICT COURT

        Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the Federal Rules

 of Criminal Procedure, this matter came on for hearing before U.S. Magistrate Roger B. Cosbey,

 on November 2, 2011, with the written consents of the defendant, counsel for the defendant, and

 counsel for the United States of America.

        The hearing on defendant’s plea of guilty was in full compliance with Rule 11, Federal

 Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by the defendant under oath on

 the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for defendant,

        I FIND as follows:

        (1) that defendant understands the nature of the charge against him to which the plea is

 offered;

        (2) that the defendant understands his right to trial by jury, to persist in his plea of not

 guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and
USDC IN/ND case 1:11-cr-00061-TLS-RBC                  document 28     filed 11/02/11    page 2 of 2


 his right against compelled self-incrimination;

        (3) that the defendant understands what the maximum possible sentence is, including the

 effect of the supervised release term, and defendant understands that the Sentencing Guidelines

 apply and that the Court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by the defendant has been knowingly and voluntarily made and

 is not the result of force or threats or of promises apart from the amended plea agreement between

 the parties;

        (5) that defendant is competent to plead guilty;

        (6) that the defendant understands that his answers may later be used against him in a

 prosecution for perjury or false statement;

        (7) that there is a factual basis for the defendant’s plea; and further,

        I RECOMMEND that the Court accept the defendant’s plea of guilty and that the

 Defendant be adjudged guilty of the offense charged in Count 1 of the two-count Indictment, and

 have sentence imposed. A Presentence Report has been ordered. Should this Report and

 Recommendation be accepted and the Defendant adjudged guilty, sentencing will be scheduled

 before Judge Theresa L. Springmann by separate order and notice. Objections to the Findings

 and Recommendation are waived unless filed and served within fourteen (14) days. 28 U.S.C.

 § 636(b)(1)(B).

        DATED this 2nd day of November, 2011.


                                                        /s/ Roger B. Cosbey
                                                        Roger B. Cosbey
                                                        United States Magistrate Judge



                                                   2
